      Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 1 of 18 PageID #: 1



                  IN THE UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF MISSOURI



Siegrid Smith, Plaintiff                )
                                        )
                                        )
                                        )
             v.                         )
                                        )
                                        ) Case No.      22-cv-00509
                                        )
Denis McDonough, Secretary              )
U.S. Department                         )
of Veterans Affairs, Bruce Nolan        )    Jury Trial Demanded
and Shounita Brooks in their            )
Individual Capacities                   )
           Defendants                   )



                  COMPLAINT OF PLAINTIFF SIEGRID SMITH


      COMES NOW Plaintiff Siegrid Smith, by and through counsel, and for her

cause of action against the Defendant states as follows:


                              JURISDICTION AND VENUE


         1. Plaintiff Siegrid Smith (“Plaintiff Smith” or “Smith”) is a resident of the

             state of Missouri, residing in St. Louis, Missouri.

         2. Defendant U.S. Department of Veterans Affairs (“Defendant VA” or

             “VA”) operates a health care facility located at 1 Jefferson Barracks

             Drive, St. Louis, Mo., at which the events giving rise to this cause of

             action took place.

                                                                                          1
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 2 of 18 PageID #: 2



   3. Defendant Bruce Nolan is Plaintiff Smith’s senior supervisor at the

      Jefferson Barracks facility, and was during all events alleged

      subsequently herein.

   4. Defendant Shounita Brooks is director of human resources for the

      Jefferson Barracks facility, and has served in such capacity since at least

      January 1, 2022.

   5. At all times, the Defendant VA is a public accommodation covered by

      Title III of the Americans with Disabilities Act (“ADA”).

   6. At all relevant times, the Defendant VA has been a covered entity under

      Section 101(2) of the ADA, Section 12111(2).

   7. At all relevant times, the Defendant VA has been an employer covered

      under Section 101(5) of the ADA, 42 U.S.C. § 12111(5), and Section

      107(7) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference

      Sections 701(g) and (h) of Title VII 42 U.S.C. Sections 2000e(g) and (h).

   8. The court has subject matter jurisdiction pursuant to 42 U.S.C. § 12182

      and 28 C.F.R. 36.304.

   9. The court has jurisdiction over Plaintiff’s pendant state claims pursuant

      to 28 U.S.C. § 1367.


                 FACTS COMMON TO ALL CLAIMS


   10. On or around April 1, 2018, Plaintiff Smith was hired by the VA as a

      floor nurse at the VA’s Jefferson Barracks facility in St. Louis. Missouri.



                                                                                    2
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 3 of 18 PageID #: 3



   11. Plaintiff Smith has asthma, diabetes, and autoimmune deficiency and is

      particularly vulnerable to fragrances.


   12. When she is exposed to fragrances, Plaintiff Smith experiences chest

      heaviness, tightness in her chest and lungs, wheezing, cognitive

      dysfunction, full asthma attacks and/or severe asthma attacks with

      hypoxia and anaphylaxis.

   13. These symptoms substantially limit Plaintiff Smith’s life activities,

      including precluding her from going into public spaces that may not be

      fragrance free.

   14. Plaintiff Smith disclosed her medical condition during the process of her

      employment with the VA.


   15. Plaintiff Smith accepted the nursing position because she reasonably

      believed, and relied on such belief, that the VA would comply with the

      Americans with Disabilities Act (“ADA”) and Americans with Disabilities

      Act As Amended (“ADAA”), by ensuring its Jefferson Barracks hospital

      facility was fragrance free.


   16. Plaintiff Smith quickly learned that the Jefferson Barracks facility was

      not fragrance free and encountered disability-related difficulties

      immediately upon starting work as a floor nurse.




                                                                                  3
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 4 of 18 PageID #: 4



   17. Patients, their families, visitors, and hospital personnel were unlawfully

      permitted to wear fragrances around her, which required Plaintiff Smith

      to take frequent breaks to recover and resume normal breathing.


   18. Plaintiff Smith repeatedly asked hospital personnel, patients, and their

      families to refrain from wearing fragrances, but those requests were

      ignored or derided.


   19. After eight months of trying to work in such an environment with her

      disability, Plaintiff Smith transferred off the floor to a desk position as a

      prosthetic purchasing agent in January 2020 to help her avoid

      encountering patient, family, visitor, and hospital personnel fragrances.


   20. The transfer did not accomplish its objective because Plaintiff Smith’s

      workspace was put in the Prosthetics Department, which was heavily

      scented with the personal fragrances of hospital workers and scented air

      fresheners in the bathrooms, in violation of agency policy.


   21. Plaintiff Smith ultimately had to be sent to the emergency room from

      work seven times during her working hours due to fragrance-related

      harms, resulting in seven workers’ compensation claims.


   22. The VA did not file the forms required for the successful processing of

      those claims, resulting in their administrative closure.


   23. On February 27, 2020, Plaintiff Smith filed a request to work from

      home as a reasonable accommodation for her disability.
                                                                                      4
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 5 of 18 PageID #: 5



   24. The VA did not engage in an interactive process with Plaintiff Smith to

      accommodate her disability. Instead, it unilaterally implemented minor

      workspace adjustments, all of which were ineffective because of the

      pervasive presence of fragrances in the building.


   25. Plaintiff Smith filed a second formal request for a reasonable

      accommodation on October 27, 2020 – during the Covid lockdown – again

      requesting to work from home, as most federal workers were required to

      do at the time.


   26. On February 4, 2021, Plaintiff Smith reported for work as required by

      agency policy for reasonable accommodations claims.


   27. Plaintiff Smith’s supervisor, Bruce Nolan (“Nolan”), told Smith not to

      return to work until she was instructed to do so. Nolan had her escorted

      off the property and told her she was not permitted to return to the

      grounds without permission. He also told her she no longer would have

      access to her government email.


   28. On February 10, 2021, Ms. Shounita Brooks (“Brooks”), head of human

      resources for the Jefferson Barracks facility, sent Plaintiff Smith an

      email informing her that “the reasonable accommodations process has

      ended” and that her “request is closed.”




                                                                                 5
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 6 of 18 PageID #: 6



   29. Plaintiff Smith retained counsel and during June-August 2021, held

      meetings with Ms. Brooks and VA Reasonable Accommodation

      Coordinator Christina Dean.


   30. Plaintiff Smith and Ms. Dean quickly agreed that working at home

      would be a reasonable accommodation of Smith’s disability.


   31. On June 14, 2021, during the negotiations with Ms. Dean, Ms. Brooks

      sent Plaintiff Smith an email telling her “Your request for an

      accommodation has been approved.” Two days later, Ms. Brooks sent

      Smith a revised job description that was signed by her senior supervisor,

      Bruce Nolan.


   32. On August 26, 2021, Ms. Dean and Plaintiff Smith entered into a final

      agreement under the following terms:


         a. Ms. Smith’s grade and pay would be adjusted retroactive to

            January 3, 2021, to reflect a raise from Grade 5.8 to Grade 6,

            which Ms. Dean determined had been erroneously withheld;

         b. Ms. Smith would work in her present position as a fulltime remote

            employee, and only be required to come into the facility to renew

            her fingerprints and PIV badge, and for technology issues that

            could not be resolved at her home;

         c. Ms. Smith’s duties would be adjusted so that others in her

            department would perform her shipping, receiving, and


                                                                                6
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 7 of 18 PageID #: 7



              inventorying functions while she would assume some of their

              duties to assure a proper distribution of work; and

         d. The VA PIV office would make reasonable efforts to make its

              facility fragrance-free, including removing the scented air

              fresheners in the area so that Ms. Smith could come into the

              facility by appointment when it opened at 7:30 a.m. to get her

              badge and fingerprints.


   33. Ms. Dean communicated the completed reasonable accommodation

      agreement to Ms. Brooks that day and asked her to get manager

      signatures.


   34. Mr. Nolan later signed a position description that Ms. Smith believes to

      be based on this agreement.


   35. On or around September 4, 2021, Ms. Dean was replaced as VA RAC by

      Abner Martinez.


   36. On September 20, 2021, Plaintiff Smith, acting through counsel,

      contacted Mr. Martinez asking him to confirm his commitment to the

      reasonable accommodation she had negotiated with Ms. Dean.


   37. Mr. Martinez refused to confirm that the agency would honor the

      agreement with Ms. Dean.


   38. The matter was scheduled for informal mediation on September 27,

      2021.
                                                                               7
     Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 8 of 18 PageID #: 8



        39. The parties again agreed upon a work-at-home accommodation, and

           mediator Carmen Hatch tasked Mr. Martinez with drafting language

           regarding the PIV badge since he had rejected the language agreed to by

           Ms. Smith and Ms. Dean.


        40. Mr. Martinez did not provide that language prior to or during the

           second mediation, despite requests from both Ms. Smith and Mediator

           Hatch.


        41. There was no negotiation process during the second mediation on

           October 15, 2021. Instead, Mr. Martinez informed Ms. Smith she no

           longer had a position with the VA, but technically remained an employee

           of the VA because she had not been terminated.


        42. The mediator declared an impasse.


        43. On December 15, 2021, Plaintiff Smith filed an informal appeal.


        44. On February 2, 2022, the VA issued a Final Agency Decision dismissing

           Plaintiff Smith’s appeal as untimely because she did not meet the 15-day

           deadline for filing the appeal.

        45. The notice of dismissal granted a 90-day right-to-sue in federal district

           court.


                                      Count I


Defendant VA’s Jefferson Barracks Hospital Facility’s Failed to Comply with

   the Americans with Disabilities Act, Causing Plaintiff Smith Damages
                                                                                        8
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 9 of 18 PageID #: 9



   46. Plaintiff Smith incorporates paragraphs 1-45 into this count as if they

      had been fully stated herein.

   47. Under Title III of the ADA, a private cause of action is available to any

      person subjected to any person subjected to discrimination on the basis of

      disability. 42 U.S.C. § 12188(a).

   48. Under the ADA, an individual is considered disabled if she: “(A) [has] a

      physical or mental impairment that substantially limits one or more

      major life activities of such individual; (B) [has] a record of such an

      impairment; or (C) [is] regarded as having such an impairment.” 42

      U.S.C. § 12102(1).

   49. The ADA specifically identifies breathing as a major life activity. 42

      U.S.C. § 12102(2)(A).

   50. The term “substantially limits” is to “be construed broadly in favor of

      expansive coverage,” and “is not meant to be a demanding standard.” 29

      C.F.R. § 1630.2(j)(1)(i).

   51. Plaintiff Smith’s severe asthma, diabetes, and autoimmune deficiency

      “substantially limits one or more major life activities” for Ms. Smith in

      that it limits her ability to breath while around fragrances.

   52. Ms. Smith’s primary care physician, Dr. Carrie Carda, and

      pulmonologist, Dr. Meena Murugappan, have provided statements to the

      VA stating their diagnosis and her need for an accommodation given that




                                                                                   9
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 10 of 18 PageID #: 10



       the Jefferson Barracks VA building is not fragrance-free and therefore

       not in compliance with the ADA.

    53. Courts in the 8th U.S. Circuit Court of Appeals, including the Eastern

       District of Missouri, have recognized fragrance sensitivity as a disability

       covered by the ADA As Amended. See, e.g., Rotkowski v. Arkansas

       Rehabilitation Services, 180 F.Supp. 618, 623-624 (W.D. Ark. 2016),

       relied on in Mills v. St. Louis County Government, 2017 WL 3128916

       (E.D. Mo); see also Brady v. United Refrigeration, Inc., 2015 WL 3500125

       (E.D.Pa. June 3, 2015); Bouard v. Ramtron Int'l Corp., 2013 WL 5445846

       (D.Colo. Sept. 27, 2013); Zandi v. JVB Fort Wayne Comm. Schls., 2012

       WL 4472006 (N.D.Ind. Sept. 27, 2012)


    54. As a qualified individual, Plaintiff Smith was entitled to the protections

       of Title III of the ADA at all times she was in the facility, regardless of

       whether she was on the clock for employment purposes.

    55. Defendant VA knowingly breached its legal duty under the ADAA to

       provide a fragrance-free environment to Plaintiff Smith as a qualified

       individual.

    56. As a result of Defendant VA’s blatant disregard for its legal duties under

       the ADA and ADAA, Plaintiff Smith had to be sent to the emergency

       room seven times, incurring medical bills that the VA effectively refused

       to pay by failing to comply with its administrative responsibilities for the




                                                                                     10
   Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 11 of 18 PageID #: 11



          processing of those claims, thus shouldering her with the cost of those

          medical expenses.

       57. Plaintiff Smith suffered additional damages relating to the loss of her

          position as a result of Defendant VA’s refusal to comply with the ADAA.

       58. Exhaustion of administrative remedies is not required for Title III claims

          under the ADA. 42 U.S.C. §§ 2000a-3(a); Parr v. L&L Drive-In

          Restaurant, 96 F.Supp. 2d 1065 (D Hawaii)(2000).


                                    Count II


Defendant VA Discriminated Against Plaintiff Smith by Failing to Provide a

              Reasonable Accommodation for Her Disability


       59. Plaintiff Smith incorporates paragraphs 1-58 into this count as if they

          had been fully stated herein.

       60. An employer commits unlawful discrimination under the ADA if the

          employer does “not mak[e] reasonable accommodations to the known

          physical or mental limitations of an otherwise qualified individual with a

          disability who is an applicant or employee, unless [the employer] can

          demonstrate that the accommodation would impose an undue hardship

          on the operation of the business of [the employer].” 42 U.S.C. §

          12112(b)(5)(A). Fjellestad v. Pizza Hut of America, 188 F.3d 944, 951 (8th

          Circuit, 1999).




                                                                                     11
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 12 of 18 PageID #: 12



    61. As a qualified individual with a disability under the ADA, Plaintiff

       Smith was entitled to a reasonable accommodation that would allow her

       to continue to work given her disability.

    62. As her employer, Defendant VA was required to make a reasonable

       effort to accommodate her disability. Id.

    63. This requirement is best implemented through the “interactive process”

       an employer is required to conduct when a qualified individual has

       requested a reasonable accommodation.

    64. The 8th Circuit employs a multi-factor test to determine whether an

       employer has complied with the interactive process requirement:

                 1) the employer knew about the employee's disability; 2)
                    the employee requested accommodations or
                    assistance for his or her disability; 3) the employer
                    did not make a good faith effort to assist the
                    employee in seeking accommodations; 4) and the
                    employee could have been reasonably accommodated
                    but for the employer's lack of good faith. Fjellestad,
                    supra, at 952, citing Taylor v. Phoenixville School
                    District, 174 F.3d 142, 165 (3rd Cir. 1996)


    65. The VA was aware of Plaintiff Smith’s disability at the time she

       was hired, was made aware of that again repeatedly during her

       employment, including three requests for reasonable

       accommodations for her disability, and did not challenge her

       disability during the EEO complaint process.

    66. Plaintiff Smith requested a reasonable accommodation three times, on

       February 27, October 27, and December 15, 2020, in applications that
                                                                               12
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 13 of 18 PageID #: 13



       included physician diagnoses and recommendations and which were

       complete in all respects.


    67. Defendant VA did not consult with Plaintiff Smith in response to the

       first reasonable accommodations request. Instead, it simply tried a

       number of measures that did not work, and that it would have known

       would not work had the agency properly engaged in the interactive

       process required by law.


    68. Defendant VA consulted with Plaintiff Smith in response to the second

       reasonable accommodations request, resulting in a written reasonable

       accommodations agreement with VA Reasonable Accommodations

       Coordinator Christina Dean that would have permitted Smith to perform

       her work duties remotely from home.


    69. Plaintiff Smith would have been able to perform the essential functions

       of her position, without undue hardship to the agency. These essential

       functions include: ordering prosthetics online, shipping and receiving,

       fitting, inventory, and using the telephone and email to resolve issues as

       needed.


    70. The overwhelming majority of this work is done online or by phone and

       can easily be done at home. Plaintiff Smith’s modest shipping, receiving,

       and inventory duties could have been delegated to another member of the

       purchasing agent team, with Ms. Smith taking on some of their duties to


                                                                                 13
   Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 14 of 18 PageID #: 14



          maintain the proper distribution of work within the department. Such a

          structure was included in the accommodation she negotiated with Ms.

          Dean and that was breached by Mr. Martinez.


       71. Ms. Smith could also have facilitated patient prosthetic fitting at home

          since the attending VA clinician inputs the patient’s prosthetic

          requirements directly into the purchasing system, and then either makes

          changes directly into the system or emails them to the purchasing agent.

          The actual fitting function could have been performed by the prosthetics

          vendors, as it has since the onset of Covid in March 2020.


       72. The last function of her position, account reconciliation for purchases,

          could have been done online from home.


       73. Defendant VA’s failure to provide a reasonable accommodation violated

          the ADAA.


       74. Defendant VA’s violation of the ADAA caused Plaintiff Smith economic

          damages in the form of lost wages and future employment. While she has

          not been formally terminated by the VA, she has not been paid since

          August 6, 2021.


                                    Count III


Defendant VA Breached its Contract for Reasonable Accommodations with

 Plaintiff Smith By Refusing to Allow her to Work from Home Under the

                 Terms of Her Agreement with the Agency
                                                                                      14
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 15 of 18 PageID #: 15



    75. Plaintiff Smith incorporates paragraphs 1-74 into this count as if they

       had been fully stated herein.

    76. Under Missouri law, “[a] breach of contract action includes the following

       essential elements: (1) the existence and terms of a contract; (2) that

       plaintiff performed or tendered performance pursuant to the contract; (3)

       breach of the contract by the defendant; and (4) damages suffered by the

       plaintiff.” Keveney v. Mo. Military Acad., 304 S.W.3d 98, 104 (Mo. 2010);

       § 516.120 RSMo.

    77. The agreement between Plaintiff Smith and Ms. Dean was a binding

       contract under Missouri law. The agreement existed as of August 29,

       2021, and the express terms of the agreement described in Paragraph 32

       represented a clear and specific meeting of the minds of the two parties.

       Defendant VA, acting through its reasonable accommodations

       coordinator, offered those terms to Plaintiff Smith, and Plaintiff Smith

       accepted those terms, and in consideration thereof, tendered performance

       by informing the VA that she was ready to return to work under those

       terms.


    78. Defendant VA breached that contract when it refused to permit Plaintiff

       Smith to continue to work in her position as a prosthetics purchaser

       under its terms.




                                                                                  15
     Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 16 of 18 PageID #: 16



         79. Plaintiff Smith suffered severe economic damages as a result of

            Defendant’s breach of its reasonable accommodations contract, including

            lost wages and future employment.


                                 Prayer for Relief


WHEREFORE, Plaintiff Smith prays that this Court enter judgment in her favor

pursuant to 42 U.S.C. § 12188(a) and 42 U.S.C. § 12112(b)(5)(A), and Section 516.120,

RSMo., and enter an order:


         a. Declaring all acts alleged of Defendant VA herein in violation of the

            Americans with Disabilities Act and ADA As Amended;

         b. Enjoining and permanently restraining Defendant VA from continued

            violations of the ADA and ADAA;

         c. Directing Defendant VA to take such affirmative steps as may be

            necessary to ensure that this unlawful practices are eliminated and do

            not continue to affect Plaintiff Smith’s employment at the Veterans

            Administration;

         d. Directing Defendant VA to set Plaintiff Smith’s pay grade at Level 7, to

            which she was entitled as of approximately January 3, 2022.

         e. Directing Defendant VA to reinstate Plaintiff Smith into her previous

            position or a position of comparable grade and skill;

         f. Directing Defendant VA to reassign Plaintiff Smith to another facility,

            where she can work remotely and will not be forced to endure the


                                                                                       16
Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 17 of 18 PageID #: 17



       continued harassment and retaliation she has experienced at the

       Jefferson Barracks facility and by Jefferson Barracks personnel;

    g. Directing Defendant VA to take all steps necessary and appropriate to

       the reopening and completion of all workers’ compensation claims arising

       from the events alleged herein;

    h. Requiring Defendant VA to compensate, reimburse, and make whole

       Plaintiff Smith for the full value of all pecuniary and non-pecuniary

       damages she has sustained in the past, and is reasonably certain to

       sustain in the future, including but not limited to any and all back pay

       and benefits, interest on back pay, embarrassment, humiliation, loss of

       dignity, loss of enjoyment of life, loss of reputation, and all other

       consequential damages;

    i. Awarding Plaintiff Smith punitive damages in the amount of $1 million

       so as to punish Defendant VA and deter Defendant VA and others from

       like conduct in the future;

    j. Awarding Plaintiff Smith the costs of this action, prejudgment interest,

       and reasonable attorney fees at an hourly rate of $450 per hour and

       litigation costs;

    k. Providing such other and further relief as the Court may deem just and

       proper.


                                                            Respectfully submitted,
                                                               REUBENLAW LLC


                                                                                  17
     Case: 4:22-cv-00509 Doc. #: 1 Filed: 05/09/22 Page: 18 of 18 PageID #: 18



                                                   /s/ Richard Reuben     May 3, 2022


                                                         Richard Reuben, 63665 (MO)
                                                                     ReubenLaw LLC
                                                                      P.O. Box 39023
                                                                St. Louis, MO 63109
                                                               Phone: (314) 728-4444
                                                                 Fax: (844) 947-4402
                                                        Richard@ReubenLawLLC.com


                           CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 3rd day of May, 2022, a true and
accurate copy of the foregoing Complaint of Siegrid Smith was filed electronically with
the Court, therefore to be served electronically by operation of the Court’s electronic
filing system to all parties of record.

                                                /s/ Richard C. Reuben      May 3, 2022
                                                         Richard C. Reuben, MB 63665
                                                                       ReubenLaw LLC
                                                                        P.O. Box 39023
                                                                  St. Louis, MO 63109
                                                                 Phone: (314) 728-4444
                                                                   Fax: (844) 947-4402
                                                         Richard@ReubenLawLLC.com




                                                                                     18
